Case 1:18-cv-20314-DPG Document 14 Entered on FLSD Docket 04/13/2018 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 1:18-cv-20314-GAYLES

  MICHELLE LOMBARDO, on behalf of herself
  and others similarly situated,

         Plaintiff,

         v.

  NCL CORPORATION LTD., a Foreign Corporation,

        Defendant.
  _____________________________________________________/

                            PLAINTIFF’S STATEMENT OF CLAIM

         Plaintiff, MICHELLE LOMBARDO, pursuant to the Court’s March 23, 2013 Notice of

  Court Practice [D.E. #12], hereby sets forth a statement of her claims as follows:

         During the three (3) year statute of limitations period between approximately late

  November 2015 and early January 2017, Plaintiff worked for Defendant as a non-exempt

  “Personal Cruise Consultant” (PCC) and regularly worked as many as six (6) days per week with

  start and stop times that ranged between approximately 9:00 a.m. and 11:00 p.m., including

  Plaintiff working at times shifts that were scheduled between 11:00 a.m. and 8:00 p.m. but

  Plaintiff actually working past the scheduled “end time” as part of being Plaintiff being directed

  by Defendant to work additional hours until as late as midnight, along with weekend hours that

  were frequently four (4) hours per day—averaging approximately Sixty (60) hours per week.

         Defendant paid Plaintiff based upon the hourly rate of $10.35 per hour for 40 hours per

  week, plus commissions in some work weeks, between approximately late November 2015 and

  early January 2017, but Defendant failed to compensate Plaintiff at a rate of time and one-half of




                                                   1
Case 1:18-cv-20314-DPG Document 14 Entered on FLSD Docket 04/13/2018 Page 2 of 4




  her applicable regular rates for all of Plaintiff’s actual overtime hours worked during each week

  in which Plaintiff worked overtime hours within the three (3) year statute of limitations period.

         Based upon a review and analysis of Defendant’s compensation records reflecting the

  hourly wages paid to Plaintiff between approximately late November 2015 and January 2017

  while Plaintiff worked as a PCC, Defendant’s time records—which time records may contain

  error(s) and/or not reflect all of Plaintiff’s actual hours worked each week—and monthly

  commissions having been paid by Defendant of $1,000.00 earned during the month of December

  2015, $77.12 in commissions earned during the month of January 2016, $196.15 in commissions

  earned during the month of February 2016, $4,162.61 in commissions earned during the month

  of March 2016, $2,687.30 in commissions earned during the month of April 2016, $4,351.09 in

  commissions earned during the month of May 2016, $2,735.38 in commissions earned during the

  month of June 2016, $4,868.38 in commissions earned during the month of July 2016, $4,671.75

  in commissions earned during the month of August 2016, $2,646.41 in commissions earned

  during the month of September 2016, $319.35 in commissions earned during the month of

  October 2016, $5,736.74 in commissions earned during the month of November 2016, $1,249.98

  in commissions earned during the month of December 2016, and $0.00 in commissions earned

  during the month of January 2017, as set forth in the attached spreadsheet, Plaintiff’s unpaid

  wages from Defendant total $13,119.43.

         In addition to her unpaid wages, Plaintiff is seeking the recovery of liquidated damages

  and all reasonable attorneys’ fees and costs from Defendants pursuant to 29 U.S.C. §216(b).




                                                   2
Case 1:18-cv-20314-DPG Document 14 Entered on FLSD Docket 04/13/2018 Page 3 of 4




  Dated: April 13, 2018                         Respectfully submitted,

                                                s/KEITH M. STERN
                                                Keith M. Stern, Esquire
                                                Florida Bar No. 321000
                                                E-mail: employlaw@keithstern.com
                                                Hazel Solis Rojas, Esquire
                                                Florida Bar No. 91663
                                                E-mail: hsolis@workingforyou.com
                                                LAW OFFICE OF KEITH M. STERN, P.A.
                                                One Flagler – 14 NE 1st Avenue, Suite 800
                                                Miami, Florida 33132
                                                Telephone: (305) 901-1379
                                                Facsimile: (561) 288-9031
                                                Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 13, 2018, I electronically filed the foregoing document with
  the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this
  day on all counsel of record identified on the attached Service List in the manner specified, either
  via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive electronically
  Notices of Filing.

                                                     s/KEITH M. STERN
                                                     Keith M. Stern
                                         SERVICE LIST
                          Michelle Lombardo v. NCL Corporation Ltd.
                                Case No. 1:18-cv-20314-GAYLES
                 United States District Court for the Southern District of Florida

  Rachel K. Beige, Esq.
  E-mail: rachel.beige@csklegal.com
  Ashleigh C. McKenzie, Esq.
  E-mail: Ashleigh.McKenzie@csklegal.com
  COLE, SCOTT & KISSANE, P.A.
  Esperante Building
  222 Lakeview Avenue, Suite 120
  West Palm Beach, Florida 33401
  Telephone (561) 383-9228
  Facsimile (561) 683-8977
  Attorneys for Defendant
  Served via CM/ECF




                                                   3
                   Case 1:18-cv-20314-DPG Document      14 Entered on FLSD Docket 04/13/2018 Page 4 of 4
                                               Michelle Lombardo v. NCL ‐ Plaintiff's Unpaid Wages


                                                                                                                                                                                    Total Wages
                                                     Regular                                                                                                                        Required by
                               # Hours               Weekly      Commissions       Total Wages                              Straight-Time   Applicable                Additional    Law to have    Unpaid Wages
                              Worked Per   Hourly   Wages Paid   Attributable to    for Work     # OT Hours     Straight-    Wages Plus      Regular     Half-Time   Half-Time OT   been Paid to      Owed to
            Work Week           Week        Rate     by NCL       Work Week           Week        Per Week    Time Wages    Commissions        Rate        Rate         Wages        Lombardo        Lombardo
  1      11/30/15 - 12/6/15      40.00     $10.35    $414.00         $200.00         $614.00         0.00       $414.00        $614.00        $15.35       $7.68          $0.00        $614.00          $0.00
  2      12/7/11 - 12/13/15      36.00     $10.35    $372.60         $200.00         $572.60         0.00       $372.60           NA            NA           NA            NA            NA             $0.00
  3     12/14/15 - 12/20/15      40.00     $10.35    $414.00         $200.00         $614.00         0.00       $414.00        $614.00        $15.35       $7.68          $0.00        $614.00          $0.00
  4     12/21/15 - 12/27/15      40.00     $10.35    $414.00         $200.00         $614.00         0.00       $414.00        $614.00        $15.35       $7.68          $0.00        $614.00          $0.00
  5      12/28/15 - 1/3/16       31.99     $10.35    $331.10         $200.00         $531.10         0.00       $331.10           NA            NA           NA            NA            NA             $0.00
  6       1/4/16 - 1/10/16       40.32     $10.35    $414.00          $19.28         $433.28         0.32       $417.31        $436.59        $10.83       $5.41          $1.73        $438.32          $5.04
  7      1/11/16 - 1/17/16       44.62     $10.35    $414.00          $19.28         $433.28         4.62       $461.82        $481.10        $10.78       $5.39         $24.91        $506.00         $72.72
  8      1/18/16 - 1/24/16       43.47     $10.35    $414.00          $19.28         $433.28         3.47       $449.91        $469.19        $10.79       $5.40         $18.73        $487.92         $54.64
  9      1/25/16 - 1/31/16       44.23     $10.35    $414.00          $19.28         $433.28         4.23       $457.78        $477.06        $10.79       $5.39         $22.81        $499.87         $66.59
  10      2/1/16 - 2/7/16        48.25     $10.35    $414.00          $49.04         $463.04         8.25       $499.39        $548.43        $11.37       $5.68         $46.89        $595.31        $132.27
  11      2/816 - 2/14/16        43.75     $10.35    $414.00          $49.04         $463.04         3.75       $452.81        $501.85        $11.47       $5.74         $21.51        $523.36         $60.32
  12     2/15/16 - 2/21/16       41.85     $10.35    $414.00          $49.04         $463.04         1.85       $433.15        $482.19        $11.52       $5.76         $10.66        $492.84         $29.81
  13     2/22/16 - 2/28/16       42.53     $10.35    $414.00          $49.04         $463.04         2.53       $440.19        $489.22        $11.50       $5.75         $14.55        $503.77         $40.74
  14      2/29/16 - 3/6/16       43.83     $10.35    $414.00         $832.52        $1,246.52        3.83       $453.64       $1,286.16       $29.34      $14.67         $56.19       $1,342.36        $95.83
  15      3/7/16 - 3/13/16       47.52     $10.35    $414.00         $832.52        $1,246.52        7.52       $491.83       $1,324.35       $27.87      $13.93        $104.79       $1,429.14       $182.62
  16     3/14/16 - 3/20/16       47.75     $10.35    $414.00         $832.52        $1,246.52        7.75       $494.21       $1,326.73       $27.79      $13.89        $107.67       $1,434.40       $187.88
  17     3/21/16 - 3/27/16       46.00     $10.35    $414.00         $832.52        $1,246.52        6.00       $476.10       $1,308.62       $28.45      $14.22         $85.34       $1,393.97       $147.44
  18      3/28/16 - 4/3/16       47.48     $10.35    $414.00         $832.52        $1,246.52        7.48       $491.42       $1,323.94       $27.88      $13.94        $104.29       $1,428.23       $181.70
  19      4/4/16 - 4/10/16       49.00     $10.35    $414.00         $671.83        $1,085.83        9.00       $507.15       $1,178.98       $24.06      $12.03        $108.27       $1,287.25       $201.42
  20     4/11/16 - 4/17/16       51.07     $10.35    $414.00         $671.83        $1,085.83       11.07       $528.57       $1,200.40       $23.50      $11.75        $130.10       $1,330.50       $244.67
  21     4/18/16 - 4/24/16       46.12     $10.35    $414.00         $671.83        $1,085.83        6.12       $477.34       $1,149.17       $24.92      $12.46         $76.25       $1,225.41       $139.59
  22      4/25/16 - 5/1/16       52.72     $10.35    $414.00         $671.83        $1,085.83       12.72       $545.65       $1,217.48       $23.09      $11.55        $146.87       $1,364.35       $278.53
  23      5/2/16 - 5/8/16        54.62     $10.35    $414.00        $1,087.77       $1,501.77       14.62       $565.32       $1,653.09       $30.27      $15.13        $221.24       $1,874.33       $372.56
  24      5/9/16 - 5/15/16       49.90     $10.35    $414.00        $1,087.77       $1,501.77        9.90       $516.47       $1,604.24       $32.15      $16.07        $159.14       $1,763.38       $261.60
  25     5/16/16 - 5/22/16       75.03     $10.35    $414.00        $1,087.77       $1,501.77       35.03       $776.56       $1,864.33       $24.85      $12.42        $435.21       $2,299.54       $797.77
  26     5/23/16 - 5/29/16       49.50     $10.35    $414.00        $1,087.77       $1,501.77        9.50       $512.33       $1,600.10       $32.33      $16.16        $153.54       $1,753.64       $251.87
  27      5/30/16 - 6/5/16       45.60     $10.35    $414.00         $547.08         $961.08         5.60       $471.96       $1,019.04       $22.35      $11.17         $62.57       $1,081.61       $120.53
  28      6/6/16 - 6/12/16       42.38     $10.35    $414.00         $547.08         $961.08         2.38       $438.63        $985.71        $23.26      $11.63         $27.68       $1,013.39        $52.31
  29     6/13/16 - 6/19/16       63.85     $10.35    $414.00         $547.08         $961.08        23.85       $660.85       $1,207.92       $18.92       $9.46        $225.60       $1,433.52       $472.45
  30     6/20/16 - 6/26/16       60.97     $10.35    $414.00         $547.08         $961.08        20.97       $631.04       $1,178.12       $19.32       $9.66        $202.60       $1,380.72       $419.64
  31      6/27/16 - 7/3/16       50.08     $10.35    $414.00         $547.08         $961.08        10.08       $518.33       $1,065.40       $21.27      $10.64        $107.22       $1,172.63       $211.55
  32      7/4/16 - 7/10/16       44.05     $10.35    $414.00        $1,217.10       $1,631.10        4.05       $455.92       $1,673.01       $37.98      $18.99         $76.91       $1,749.92       $118.83
  33     7/11/16 - 7/17/16       55.45     $10.35    $414.00        $1,217.10       $1,631.10       15.45       $573.91       $1,791.00       $32.30      $16.15        $249.51       $2,040.52       $409.42
  34     7/18/16 - 7/24/16       51.30     $10.35    $414.00        $1,217.10       $1,631.10       11.30       $530.96       $1,748.05       $34.08      $17.04        $192.52       $1,940.57       $309.48
  35     7/25/16 - 7/31/16       53.25     $10.35    $414.00        $1,217.10       $1,631.10       13.25       $551.14       $1,768.23       $33.21      $16.60        $219.99       $1,988.22       $357.13
  36      8/1/16 - 8/7/16        44.20     $10.35    $414.00         $934.35        $1,348.35        4.20       $457.47       $1,391.82       $31.49      $15.74         $66.13       $1,457.95       $109.60
  37      8/8/16 - 8/14/16       52.32     $10.35    $414.00         $934.35        $1,348.35       12.32       $541.51       $1,475.86       $28.21      $14.10        $173.76       $1,649.63       $301.28
  38     8/15/16 - 8/21/16       49.17     $10.35    $414.00         $934.35        $1,348.35        9.17       $508.91       $1,443.26       $29.35      $14.68        $134.58       $1,577.84       $229.49
  39     8/22/16 - 8/28/16       73.27     $10.35    $414.00         $934.35        $1,348.35       33.27       $758.34       $1,692.69       $23.10      $11.55        $384.30       $2,077.00       $728.65
  40      8/29/16 - 9/4/16       45.99     $10.35    $414.00         $934.35        $1,348.35        5.99       $476.00       $1,410.35       $30.67      $15.33         $91.85       $1,502.19       $153.84
  41      9/5/16 - 9/11/16       53.28     $10.35    $414.00         $661.60        $1,075.60       13.28       $551.45       $1,213.05       $22.77      $11.38        $151.18       $1,364.23       $288.62
  42     9/12/16 - 9/18/16       57.75     $10.35    $414.00         $661.60        $1,075.60       17.75       $597.71       $1,259.32       $21.81      $10.90        $193.53       $1,452.85       $377.24
  43     9/19/16 - 9/25/16       50.92     $10.35    $414.00         $661.60        $1,075.60       10.92       $527.02       $1,188.62       $23.34      $11.67        $127.45       $1,316.08       $240.47
  44     9/26/16 - 10/2/16       85.68     $10.35    $414.00         $661.60        $1,075.60       45.68       $886.79       $1,548.39       $18.07       $9.04        $412.76       $1,961.15       $885.55
  45     10/3/16 - 10/9/16       23.52     $10.35    $243.43          $79.84         $323.27         0.00       $243.43           NA            NA           NA            NA            NA             $0.00
  46    10/10/16 - 10/16/16      60.52     $10.35    $414.00          $79.84         $493.84        20.52       $626.38        $706.22        $11.67       $5.83        $119.73        $825.95        $332.11
  47    10/17/16 - 10/23/16      56.18     $10.35    $414.00          $79.84         $493.84        16.18       $581.46        $661.30        $11.77       $5.89         $95.23        $756.53        $262.69
  48    10/24/16 - 10/30/16      38.52     $10.35    $398.68          $79.84         $478.52         0.00       $398.68           NA            NA           NA            NA            NA             $0.00
  49     10/31/16 - 11/6/16      49.37     $10.35    $414.00        $1,147.35       $1,561.35        9.37       $510.98       $1,658.33       $33.59      $16.79        $157.37       $1,815.70       $254.35
  50     11/7/16 - 11/13/16      63.00     $10.35    $414.00        $1,147.35       $1,561.35       23.00       $652.05       $1,799.40       $28.56      $14.28        $328.46       $2,127.86       $566.51
  51    11/14/16 - 11/20/16      63.07     $10.35    $414.00        $1,147.35       $1,561.35       23.07       $652.77       $1,800.12       $28.54      $14.27        $329.23       $2,129.35       $568.00
  52    11/21/16 - 11/27/16      49.82     $10.35    $414.00        $1,147.35       $1,561.35        9.82       $515.64       $1,662.99       $33.38      $16.69        $163.90       $1,826.88       $265.53
  53     11/28/16 - 12/4/16      45.25     $10.35    $414.00        $1,147.35       $1,561.35        5.25       $468.34       $1,615.69       $35.71      $17.85         $93.73       $1,709.41       $148.07
  54     12/5/16 - 12/11/16      51.65     $10.35    $414.00         $312.50         $726.50        11.65       $534.58        $847.07        $16.40       $8.20         $95.53        $942.60        $216.11
  55    12/12/16 - 12/18/16      50.12     $10.35    $414.00         $312.50         $726.50        10.12       $518.74        $831.24        $16.58       $8.29         $83.92        $915.16        $188.66
  56    12/19/16 - 12/25/16      43.85     $10.35    $414.00         $312.50         $726.50         3.85       $453.85        $766.34        $17.48       $8.74         $33.64        $799.98         $73.49
  57     12/26/16 - 1/1/17        9.23     $10.35    $414.00         $312.50         $726.50         0.00        $95.53           NA            NA           NA            NA            NA             $0.00
  58      1/2/17 - 1/8/17        82.01     $10.35    $414.00           $0.00         $414.00        42.01       $848.80        $848.80        $10.35       $5.18        $217.40       $1,066.21       $652.21
  59      1/9/17 - 1/15/17        6.00     $10.35     $82.80           $0.00          $82.80         0.00        $62.10           NA            NA           NA            NA            NA             $0.00
TOTAL                                                                                               603.91                                                                                           $13,119.43
